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 7   PER L.R. IA 11-1(b)
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 9   Las Vegas, Nevada 89121
10                               UNITED STATES DISTRICT COURT
11                                         DISTRICT OF NEVADA
12     BAYVIEW LOAN SERVICING, LLC,                     Case No.: 2:19-cv-01151-JAD-EJY
13                            Plaintiff,                STIPULATION AND ORDER TO
                                                        EXTEND NORTH AMERICAN'S TIME
14                    vs.                               TO RESPOND TO MOTION RE CLAW
                                                        BACK [ECF No. 58]
15     NORTH AMERICAN TITLE INSURANCE
       COMPANY,                                         [FIRST REQUEST]
16
                              Defendant.
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18
             COMES NOW defendant North American Title Insurance Company (“North American”)
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     and plaintiff Bayview Loan Servicing, LLC (“Bayview”), by and through their respective
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     attorneys of record, which hereby agree and stipulate as follows:
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             1.     On October 8, 2020, Bayview filed its motion for an order on North American’s
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     rights to claw back documents under seal. (ECF No. 58.);
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             2.     North American’s current deadline to respond to Bayview’s motion is October 22,
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     2020;
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             3.     North American requests a one-week extension of time to respond to Bayview’s
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     motion, until October 29, 2020, to afford North American additional time to respond to the legal
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     arguments set forth in Bayview’s motion, which implicate issues of privilege;
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                                                     1
                                           STIPULATION AND ORDER
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 1          4.     Bayview does not oppose the requested extension;
 2          5.     This is the first request for an extension which is made in good faith and not for
 3   purposes of delay;
 4          IT IS SO STIPULATED that North American’s deadline to respond to Bayview’s
 5   motion for an order on North American’s rights to claw back documents under seal (ECF No. 58)
 6   is hereby extended through and including October 29, 2020.
 7
     Dated: October 20, 2020                        SINCLAIR BRAUN LLP
 8

 9
                                                    By:    /s/-Kevin S. Sinclair
10                                                        KEVIN S. SINCLAIR
                                                          Attorneys for Defendant
11                                                        NORTH AMERICAN TITLE INSURANCE
                                                          COMPANY
12
     Dated: October 20, 2020                        WRIGHT FINLAY & ZAK, LLP
13

14
                                                    By:    /s/-Darren T. Brenner
15
                                                          DARREN T. BRENNER
                                                          Attorneys for Plaintiff
16
                                                          BAYVIEW LOAN SERVICING, LLC
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     IT IS SO ORDERED.
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            Dated this 20th day of October, 2020.
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20                                                  _______________________________________
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                                                    ELAYNA J. YOUCHAH
                                                    UNITED STATES MAGISTRATE JUDGE
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                                       STIPULATION AND ORDER
